Filed 8/27/24 Security Management Group Internat. v. Jenkins CA1/2
                  NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication or
ordered published for purposes of rule 8.1115.


          IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                      FIRST APPELLATE DISTRICT

                                                   DIVISION TWO


 SECURITY MANAGEMENT
 GROUP INTERNATIONAL, INC.,
           Plaintiff and Respondent,                                    A164147, A164970

 v.                                                                     (Alameda County
 SCOTT JENKINS,                                                         Super. Ct. No. RG16809374)
           Defendant and Appellant.


         A jury awarded approximately one million dollars in damages,
including $100,000 in punitive damages, to private security company,
respondent Security Management Group International, Inc. (SMGI or the
company), for multiple business torts committed by its former chief executive
officer, appellant Scott Jenkins.
         Jenkins now appeals the resulting judgment and the denial of his
motion for a new trial, raising numerous issues.
         We affirm.
                                                  BACKGROUND
         SMGI brought suit against Jenkins, asserting causes of action for
breach of contract, breach of the implied covenant of good faith and fair
dealing, breach of fiduciary duty, conversion, intentional interference with
contractual relations, violation of the Unfair Competition Law (Bus. and Prof.


                                                               1
Code, § 17200), and declaratory relief. It alleged that during Jenkins’ three-
year tenure as C.E.O., Jenkins misappropriated more than $400,000 from the
company through a combination of writing unauthorized checks and making
unauthorized withdrawals and wire transfers (including $21,500 in
unauthorized wire transfers for personal expenses relating to his divorce);
ran up $60,000 in unauthorized credit card charges; and unilaterally gave
himself $35,000 in unauthorized pay raises.
      SMGI also alleged that Jenkins, while still employed, had been
engaged in a secret plot with a competitor, Resolute Security Group, Inc.
(RSG), to destroy the company by stealing its customers and hiring away its
employees. SMGI alleged that, as part of the plot, Jenkins tried to acquire a
controlling stake in SMGI but failed to disclose to members of SMGI’s board
of directors during negotiations for the purchase of controlling shares that
the attempted acquisition was just a ruse to destroy the company, carried out
with the secret financial backing of a business rival, Scott Gimple, RSG’s
founder who had been ousted from the SMGI board but remained an SMGI
shareholder.
      It further alleged that when Jenkins abruptly resigned, he took his
entire management team with him, abandoned the company’s headquarters
leaving no employees behind, and with the former SMGI management team
immediately began working for the competitor. The company’s computers
and cloud storage were allegedly discovered to have been wiped clean, the
telephones had been “sabotaged,” and the company’s customer files were
missing. After that, many customers transferred their business to the
competitor and/or cancelled their contracts with SMGI.
      The case proceeded to a 10-day trial. The first day of trial was not
reported, and thus we have no record of opening statements and a portion of

                                       2
testimony by SMGI’s first witness, Robert Shiells, who testified for
approximately two hours. At the conclusion of trial, the jury found Jenkins
liable for breaching his duty of loyalty to SMGI, for which it assessed
$350,000 in damages; conversion, for which it awarded $251,268.75;
interference with contract, for which it awarded $150,000; and interference
with prospective economic relations, for which it likewise awarded $150,000.1
The trial court then held a one-day bifurcated trial on punitive damages at
which Jenkins testified. The punitive damages phase of trial was unreported
and no other record of the evidence was made. The jury awarded $100,000 in
punitive damages.
                                DISCUSSION
      In considering Jenkins’ many arguments, we will consider only those
issues that are identified in an argument heading of his opening brief,
because the headings define the issues on appeal. Their purpose is to ensure
that we are “ ‘ “advised, as [we] read, of the exact question under
consideration, instead of being compelled to extricate it from the mass.” ’ ”
(United Grand Corp. v. Malibu Hillbillies, LLC (2019) 36 Cal.App.5th 142,
153 (United Grand Corp.).) “ ‘Failure to provide proper headings forfeits
issues that may be discussed in the brief but are not clearly identified by a
heading.’ ” (Tsakopoulos Investments, LLC v. County of Sacramento (2023)
95 Cal.App.5th 280, 310.)
      In considering this appeal, we also presume that all the trial court’s
rulings are correct. It is Jenkins’ burden as the appellant to persuade us
both of an error and that he was prejudiced as a result. (See Grappo v.


      1The jury also found Jenkins breached a Mutual Non-Disclosure and
Confidentiality Agreement, but the breach caused no damages.


                                       3
McMills (2017) 11 Cal.App.5th 996, 1006 [calling such framework “[t]he most
fundamental principle of appellate review”].)
      This burden requires an appellant to do more than just criticize a
ruling in a conclusory, truncated fashion: an appellant must develop a legal
argument in a sufficiently clear manner to enable us to evaluate its
soundness, without undertaking laborious steps on our own to figure out the
applicable law, the pertinent facts or the logic behind appellant’s assertion of
legal error. “ ‘[A]n appellant must supply the reviewing court with some
cogent argument supported by legal analysis and citation to the record.’ ”
(United Grand Corp., supra, 36 Cal.App.5th at p. 146.) “Mere suggestions of
error without supporting argument or authority other than general abstract
principles do not properly present grounds for appellate review.”
(Department of Alcoholic Beverage Control v. Alcoholic Beverage Control
Appeals Bd. (2002) 100 Cal.App.4th 1066, 1078.) So, for example, it is not
sufficient simply to cite legal authority without explaining how it applies.
(Doe v. McLaughlin (2022) 83 Cal.App.5th 640, 654; Allen v. City of
Sacramento (2015) 234 Cal.App.4th 41, 52.) Nor is it proper to make factual
statements without citing to the record; any arguments not supported by
necessary record citations are forfeited. (United Grand Corp., at p. 156.)
Simply put, appellate courts are not required to “guess” how an appellant
thinks the trial court erred. (Lafayette Morehouse, Inc. v. Chronicle
Publishing Co. (1995) 37 Cal.App.4th 855, 869.) An appellant must “convince
us, by developing his arguments, stating the law, and calling out relevant
portions of the record, that the trial court committed reversible error,” and
when an appellant fails to do so we may reject the appellant’s argument on
its face as insufficient to demonstrate error. (Bishop v. The Bishop’s School
(2022) 86 Cal.App.5th 893, 910; accord, Lafayette Morehouse, at p. 869.)

                                       4
      Jenkins’ opening brief asserts dozens of errors, many are briefed in a
disorganized fashion without appropriately informative argument headings,
and many in a conclusory fashion with little or no legal authority or analysis.
He also fails to provide record citations for many of the factual assertions
supporting his claims of error. Issues not discussed in this opinion are
deemed forfeited for violating one or more of these principles of appellate
review.
      1.    The Jury Instructions
      Jenkins argues, first, that there were numerous errors in the jury
instructions.
      It is unnecessary to address the substance of the jury instructions
because Jenkins has not demonstrated that any of the claimed errors
prejudiced him. “[T]here is no rule of automatic reversal or ‘inherent’
prejudice applicable to any category of civil instructional error, whether of
commission or omission.” (Soule v. General Motors Corp. (1994) 8 Cal.4th
548, 580.) Rather, “[i]nstructional error in a civil case is prejudicial ‘where it
seems probable’ that the error ‘prejudicially affected the verdict.’ ” (Ibid.)
“[T]hat determination depends heavily on the particular nature of the error,
including its natural and probable effect on a party’s ability to place his full
case before the jury,” and “[a]ctual prejudice must be assessed in the context of
the individual trial record.” (Ibid., italics added.) This requires
consideration of factors including “(1) the state of the evidence, (2) the effect
of other instructions, (3) the effect of counsel’s arguments, and (4) any
indications by the jury itself that it was misled.” (Id. at pp. 580-581.)
      Our duty to examine the record to evaluate whether an instructional
error is prejudicial under the Soule factors “is triggered ‘when and only when
the appellant has fulfilled his duty to tender a proper prejudice argument.

                                        5
Because of the need to consider the particulars of the given case, rather than
the type of error, the appellant bears the duty of spelling out in his brief
exactly how the error caused a miscarriage of justice.’ [Citation.] These
principles are derived from the axiom that prejudice is not presumed and the
burden is on the appealing party to demonstrate that prejudice has occurred.”
(Adams v. MHC Colony Park, L.P. (2014) 224 Cal.App.4th 601, 614.)
“ ‘Where any error is relied on for a reversal it is not sufficient for appellant
to point to the error and rest there.’ ” (Paterno v. State of California (1999)
74 Cal.App.4th 68, 106; accord, DiRaffael v. California Army National
Guard (2019) 35 Cal.App.5th 692, 718.)
      Here, Jenkins fails to analyze the Soule factors at all and instead
makes only conclusory assertions of prejudice for the many errors he asserts.
He goes so far as to call many of the claimed instructional errors “facially
prejudicial” and asserts as to another that “prejudice is self-evident.” This
was a 10-day trial, with a (partial) reporter’s transcript running to nearly
3,000 pages and a 1,000-plus-page appendix. Prejudice is not “self-evident.”
Jenkins has failed to carry his burden of affirmatively demonstrating the
existence of any prejudicial instructional error. (Adams v. MHC Colony Park,
L.P., supra, 224 Cal.App.4th at p. 615.)
      In addition, an appellant “carries the burden of presenting a sufficient
record to establish that . . . claimed instructional errors were not invited or
waived . . . .” (Green v. Healthcare Services, Inc. (2021) 68 Cal.App.5th 407,
420), and yet here the record shows that Jenkins also forfeited several of
them: (1) his contention that the court erred by failing to give a clarifying
instruction that he had a legal right to announce his resignation to SMGI
customers, and (2) his contention the court erred by failing to give an
instruction on breach of fiduciary duty damages. That is because the record

                                         6
does not show that he requested any such instructions.2 (See Suman v. BMW
of North America, Inc. (1994) 23 Cal.App.4th 1, 9 [“When a trial court gives a
jury instruction which is correct as far as it goes but which is too general or is
incomplete . . . , a failure to request an additional or a qualifying instruction
will waive a party’s right to later complain on appeal about the instruction
which was given”].)
      Even if we considered the merits of Jenkins’ claims of instructional
error, we still would reject them all because Jenkins has failed to develop a
coherent argument that any of the instructions were legally erroneous. He
asserts at least 20 distinct claims of instructional error (and maybe more, it’s
hard to tell) in just 10 pages, unfurled rapid-fire at a breakneck pace. The
discussion of each claimed error is long on generality, short on citation to
legal authority and practically devoid of legal analysis. In the few instances


      2 Jenkins has filed an opposed request for judicial notice that we
previously took under submission, a portion of which requests judicial notice
of several proposed jury instructions. He requests judicial notice of the set of
jury instructions proposed by SMGI, which are already in the record; two
proposed instructions submitted by his co-defendants, John Gimple and Scott
Gimple and his own Proposed Special Instruction No. 1 (“Absolute Right of
At-Will Employee to Terminate Employee [sic]”).
      We deny his request for judicial notice of the proposed instructions, but
on our own motion we deem the record augmented to include those that are
not already in the appendix, specifically: Defendants’ Special Instruction
No.1 (“Employee’s Announcement He Is Leaving His Employment”) and
Defendants’ Special Instruction No. 2 (“Hiring Another Company’s
Employees”), both proposed by defendants Scott Gimple and John Gimple,
and Defendant Scott Jenkins’ Proposed Special Instruction No. 1 (“Absolute
Right of Employee to Terminate Employee [sic]”). (See Cal. Rules of Court,
rule 8.155(a)(1)(A).)
      We address the remainder of Jenkins’ opposed request for judicial
notice in footnote 10, infra, p. 16.


                                        7
where a claim of instructional error is supported by citation to case law,
Jenkins fails to explain how the authority applies. And with few exceptions,
he does not even lay out the language of the instructions he challenges. His
challenge to the jury instructions sweeps far and wide but in highly
conclusory fashion. No claim of instructional error is sufficiently explained or
developed to constitute a proper appellate argument, and thus none meets his
burden to demonstrate error.
      Indeed, many problems are apparent from the face of Jenkins’ appellate
briefing or a cursory review of his cited authorities and/or portions of the
record. Illustrative are his arguments about errors in the instructions
concerning the conversion claim, where we will end our discussion.
      Jenkins argues that the conversion instructions were legally incorrect,
first, because they omitted the element of demand for the return of property
allegedly converted. He cites authority that where property is acquired by
consent, a claim for conversion requires proof of demand for the return of
property and a refusal by the defendant. (Atwood v. Southern California Ice
Co. (1923) 63 Cal.App. 343, 345.) But the plaintiff’s theory was that none of
Jenkins’ actions were consensual, and both the jury instructions and special
verdict form reflected that theory. On the conversion claim, the jury was
instructed that SMGI had to prove (among other elements) that Jenkins
withdrew funds from bank accounts “which [he] was not supposed to access
without SMGI’s authorization and knowledge” yet did so, and that “SMGI did
not consent.” And the special verdict form asked merely whether Jenkins
“intentionally t[ook], spen[t], use[d], or interfere[d] with money, that
belonged to SMGI,” whether SMGI “consent[e]d” to such actions, and what
dollar amount of money Jenkins “took” from SMGI. The instructions and
verdict form thus left no room for a finding Jenkins converted money that he

                                        8
acquired with SMGI’s consent. So the demand requirement of Atwood is
irrelevant. (See Flennaugh v. Heinrich (1948) 89 Cal.App.2d 214, 222 [“when
property comes into the possession of a . . . person tortiously or unlawfully, . .
. a demand, as a necessary prerequisite to the maintenance of a suit for
conversion, is not necessary”].)
       Jenkins also asserts the conversion instructions were faulty because
“the jury was not instructed that it must find specific identifiable sums [of
money] were taken and not returned.” But he cites no legal authority
suggesting that specific identifiable sums of money are not involved where, as
here, money is taken by means of provable, unauthorized bank withdrawals.
The case he cites rejecting a conversion claim involved the theft of an
indeterminate number of duffel bags stuffed with an indeterminate amount
of cash. (See PCO, Inc. v. Christensen, Miller, Fink, Jacobs, Glaser, Weil &amp;
Shapiro, LLP (2007) 150 Cal.App.4th 384, 397.) By contrast, SMGI cites
authority that expressly discusses caselaw involving conversion of money by
the same means involved here: cashing checks belonging to the plaintiff by
endorsing them with an unauthorized signature. (See Welco Electronics, Inc.
v. Mora (2014) 223 Cal.App.4th 202, 212, discussing Acme Paper Co. v.
Goffstein (1954) 125 Cal.App.2d 175, 179.) In short, Jenkins has cited no
pertinent caselaw in support of this claim of error. He does not even discuss
the one case he does cite.
      Jenkins also challenges the instructions on awarding treble damages
for conversion but the argument is confusing, poorly developed and hard to
follow.3 It also borders on frivolous because the jury did not award treble

      3 He asserts that it failed to correctly instruct the jury on the
heightened showing of “ ‘criminal intent’ to engage in theft” under Penal Code
section 496, while at the same time erroneously telling the jury that treble

                                        9
damages for conversion, and so any error obviously was harmless. Although
the jury was instructed that it could treble damages for conversion, the
portion of the special verdict form addressing the conversion cause of action
had no question asking the jury to do so. The verdict form merely asked it to
determine “the dollar amount of money that Scott Jenkins took from SMGI”
(answer: $251,268.75). Jenkins’ response to this problem is unpersuasive.
      We will comment no further. For the reasons stated, Jenkins has failed
to demonstrate any prejudicial instructional error.
      2.    Compensatory Damages
      Next, Jenkins argues that the compensatory damages were “incorrectly
calculated” because, he claims, the jury awarded damages “for the same
alleged wrongs.”
      This argument fails at the threshold because Jenkins did not request a
special verdict form segregating the various elements of damages.4 (See
Moore v. Teed (2020) 48 Cal.App.5th 280, 294-295 [duplicative damages claim
held forfeited].) Without a special verdict segregating the various
components of damages, “ ‘ “we have no way of determining what portion—if
any” of an award was attributable to a particular category of damages
challenged on appeal.’ ” (Id. at p. 295.)




damages could be awarded “even if no form of ‘fraud’ was found.” But he does
not explain what “criminal intent” entails much less what a proper
instruction should have said.
      4 Although SMGI does not argue forfeiture but simply addresses the
argument on the merits, that does not preclude our consideration of the
problem. (See S.M. v. Los Angeles Unified School Dist. (2010)
184 Cal.App.4th 712, 722 [deeming issue forfeited even though respondent
did not argue forfeiture].)


                                       10
      Furthermore, Jenkins’ claim of error is not sufficiently developed for us
to consider it.
      Both parties cite and acknowledge the applicable legal standard. As
explained by our Supreme Court in caselaw both parties cite, “Regardless of
the nature or number of legal theories advanced by the plaintiff, he is not
entitled to more than a single recovery for each distinct item of compensable
damage supported by the evidence. [Citation.] Double or duplicative
recovery for the same items of damage amounts to overcompensation and is
therefore prohibited.” (Tavaglione v. Billings (1993) 4 Cal.4th 1150, 1158-
1159.)
      Jenkins recites this general legal principle but does not explain how it
applies here. He argues that multiple claims were based on the same
underlying conduct. And that may be true. But he has not explained the
various “items of damages” sought for each claim, much less demonstrated
that the jury awarded the same “items of damage” on more than one claim.
Such a showing would require at least some minimal comparison between
plaintiff’s damages theories for each cause of action, the evidence supporting
them and the amounts the jury awarded for each cause of action. Jenkins
has not done that, and it is not our job to pour over the trial transcripts to
figure out plaintiff’s damages claims, scrutinize the special verdict form, and
attempt to reconcile the two with no assistance. (See Billauer v. Escobar-Eck
(2023) 88 Cal.App.5th 953, 969 [“It is not our function to scour the record and
make [appellant’s] arguments for him”].) “Appellants may not enlist the
court as their legal assistant to develop arguments they merely suggest. The
duty to present legal analysis belongs to the parties. It would be unfair for
one side to loft an undeveloped legal idea, to rely on the court to work it out,
and to leave the opposing party with nothing concrete to tackle in the

                                       11
briefing.” (Paglia &amp; Associates Construction, Inc. v. Hamilton (2023)
98 Cal.App.5th 318, 327; accord, KCSFV I, LLC v. Florin County Water Dist.
(2021) 64 Cal.App.5th 1015, 1031 [appellate courts disregard “conclusory
arguments”].)
      Furthermore, as SMGI points out, the jury was instructed that it was
not permitted to award duplicative damages under multiple legal theories—
an instruction we must presume the jury followed (see People v. Boyette
(2002) 29 Cal.4th 381, 436)5—and it also awarded significantly lower
compensatory damages than plaintiff sought.6 Jenkins does not respond to
those points. In addition, plaintiff’s counsel told jury in closing argument
that even though some of its damages claims overlapped, “[t]his does not
mean that we want—are entitled to or are asking [for] this money [to be]
awarded” more than once.7



      5  No such instruction was given in any of the cases Jenkins cites
(Plotnik v. Meihaus (2012) 208 Cal.App.4th 1590, 1612; DuBarry Internat.,
Inc. v. Southwest Forest Industries, Inc. (1991) 231 Cal.App.3d 552, 564-565
&amp; fn. 16) and, indeed, in one the jury was expressly told (in response to a jury
question) that it could award duplicative damages. (See DuBarry, at pp. 564-
565 &amp; fn. 16.)
      6 Plaintiff’s counsel asked the jury to award approximately $2.1 million
in compensatory damages: $512,916 for stolen money (which included
$416,000 in unauthorized wire transfers and $96,000 of personal expenses)
and $1.6 million in damages for the company’s diminution in value. The jury
awarded less than half that amount, i.e., $901,268: $350,000 in breach of
fiduciary duty damages, $251,268 in conversion damages, $150,000 for
interference with contract, and $150,000 for interference with prospective
economic relations.
      7 Jenkins misrepresents the record by omission on this point. He
misleadingly asserts that plaintiff’s counsel “admitted its own duplicative
theory at trial” by telling the jury that the breach of fiduciary duty and
conversion claims were “two ‘avenue[s] to get to the same damages claims.’ ”

                                       12
      In sum, we are left with far more questions than answers regarding
Jenkins’ assertion the jury awarded duplicative damages. Accordingly, he
has failed to meet his burden as the appellant to demonstrate that it did.
      3.    Punitive Damages
      Jenkins argues the $100,000 punitive damages award must be vacated,
first, because SMGI delayed until the middle of closing arguments on the
merits to seek discovery of his financial condition and bifurcation of the
punitive damages phase. He argues this was legally erroneous on the face of
Civil Code section 3295, the statute precluding pre-trial discovery of a
defendant’s financial condition, allowing bifurcation and precluding
introduction of evidence of a defendant’s wealth during the liability phase of
trial. The contention is not supported by the statute’s plain language, which
for brevity we refrain from discussing. (See Civ. Code, § 3295, subds. (c), (d).)
      The contention has also been consistently rejected by the courts. “[A]
court may order a defendant to produce evidence of his or her financial
condition following a determination of liability for punitive damages even if
the plaintiff has not attempted to obtain that information prior to trial.”
(StreetScenes v. ITC Entertainment Group, Inc. (2002) 103 Cal.App.4th 233,
243; accord, Soto v. BorgWarner Morse TEC Inc. (2015) 239 Cal.App.4th 165,
193 [“the court may issue its order at any time, including after a finding of
liability has been made”]; Mike Davidov Co. v. Issod (2000) 78 Cal.App.4th
597, 609.) SMGI cites some of these cases, yet Jenkins persists in his reply
brief to ignore them.8


He fails to disclose that plaintiff’s counsel told the jury that nonetheless, it
could not award duplicative damages.
      8The fact that a trial court has discretion to permit discovery into a
defendant’s financial condition after a trial on liability has been conducted

                                        13
      Next, Jenkins argues the jury instructions on punitive damages were
legally erroneous because they permitted a finding of oppression, fraud or
malice in a vacuum rather than with respect to a specific cause of action (see
Civ. Code, § 3294). We reject this claim for two reasons. First, he has not
demonstrated any error: the authority he cites does not address this issue
(see Medo v. Superior Court (1988) 205 Cal.App.3d 64 [separate juries for
liability and punitive damages not permitted]), and the court gave the
standard pattern instruction on this issue (see CACI No. 3941).9 In addition,
as noted above, Jenkins has made no attempt to demonstrate that any such
error was prejudicial.
      Next, Jenkins argues the award must be vacated because “[t]his record
has no evidence to justify the award.” There is “no evidence” because there is
no reporter’s transcript of the punitive damages phase.
      The lack of a record compels us to affirm the jury’s punitive damages
award. An appellant cannot challenge the sufficiency of the evidence if it
fails to provide a reporter’s transcript of trial. (See, e.g., Foust v. San Jose


“does not preclude a trial court from determining, in its discretion, that such
an order is inappropriate” on the ground the plaintiff delayed too long in
seeking such information. (I-CA Enterprises, Inc. v. Palram Americas, Inc.
(2015) 235 Cal.App.4th 257, 284.) But Jenkins does not contend that the
particular facts here rendered the ruling an abuse of discretion. He asserts
only categorically that the court has no power to permit this after a trial on
liability has been conducted, ever.
      9 In relevant part, the jury was instructed: “If you decide that Scott P.
Jenkins and John Gimple’s conduct caused SMGI harm, you must decide
whether that conduct justifies an award of punitive damages. [¶] At this time
you must decide whether SMGI has proved by clear and convincing evidence
that Scott P. Jenkins and John Gimple engaged in that conduct with malice,
oppression or fraud. The amount of punitive damages, if any, will be decided
later.”


                                        14
Construction Co., Inc. (2011) 198 Cal.App.4th 181, 184-188; Aguilar v. Avis
Rent A Car System, Inc. (1999) 21 Cal.4th 121, 132.) That is because “a party
challenging a judgment has the burden of showing reversible error by an
adequate record.” (Ballard v. Uribe (1986) 41 Cal.3d 564, 574.) And “ ‘[i]t is
well established that a reviewing court starts with the presumption that the
record contains evidence to sustain every finding of fact.’ ” (Foreman &amp; Clark
Corp. v. Fallon (1971) 3 Cal.3d 875, 881 (Foreman &amp; Clark Corp).) Where the
record is silent on a particular matter, we presume the judgment is correct.
(Denham v. Superior Court (1970) 2 Cal.3d 557, 564.)
      Jenkins implies that punitive damages awards are exempt from these
bedrock principles of appellate review, but he cites no authority that they are,
and we are aware of none. On the contrary, his position is directly refuted by
caselaw. (See California Novelties, Inc. v. Sokoloff (1992) 6 Cal.App.4th 936,
945 [rejecting sufficiency of evidence challenge to punitive damages award
because appellant “has provided us with no record of the testimony presented
by plaintiffs at the four-day hearing on damages”].) Indeed, his own cited
authority acknowledges that when a punitive damages award is challenged
on the ground of insufficient evidence, appellate courts draw all favorable
presumptions in support of upholding the award. (See Kelly v. Haag (2006)
145 Cal.App.4th 910, 916.)
      Jenkins also argues the $100,000 award cannot stand because it equals
his entire net worth, which he says is $100,000. And he cites caselaw holding
that a punitive damages award is excessive as a matter of law in such
circumstances. (See Storage Services v. C.R. Oosterbaan (1989)
214 Cal.App.3d 498, 514-516; but see People v. Ashford University, LLC
(2024) 100 Cal.App.5th 485, 536-537 [questioning Storage Services]; Zaxis
Wireless Communications, Inc. v. Motor Sound Corp. (2001) 89 Cal.App.4th

                                      15577, 582 [same].) We express no opinion on the merits because this
contention fails for the same reason: the lack of an adequate record.10
      4.     SMGI’s Damages Expert
      Jenkins contends the court erred in permitting testimony from SMGI’s
damages expert, Mark Newton. Jenkins concedes, however, that he did not
object to the admission of Newton’s testimony. Accordingly, he has forfeited
any challenge to its admission. (See Orozco v. WPV San Jose, LLC (2019)
36 Cal.App.5th 375, 396-397 [arguments that damages expert was
incompetent and used flawed methodology held forfeited].) “ ‘It is hornbook
law that a timely and specific objection is required to prevent the
consideration of certain evidence; the failure to object at all waives any claim
of error.’ ” (Id. at p. 397.)
      5.     Guilty Plea Evidence
      Jenkins challenges on several grounds the admission of Exhibit 151, a
copy of his February 2018 guilty plea to one misdemeanor count of
embezzlement (Pen. Code, § 487, subd. (a)) reflecting he was sentenced to
three years of probation and required to attend a driving under the influence
program.

      10  The remainder of Jenkins’ opposed motion for judicial notice that we
previously took under submission (see footnote 2, ante, p. 7) asks us to take
judicial notice of the transcript of his deposition in which he testified about
his net worth.
       We deny that request. “[D]ocuments not before the trial court cannot
be included as part of the record on appeal and thus must be disregarded as
beyond the scope of appellate review.” (Pulver v. Avco Financial Services
(1986) 182 Cal.App.3d 622, 632.) Moreover, deposition testimony is not
judicially noticeable. (See Garcia v. Sterling (1985) 176 Cal.App.3d 17, 22
[“Although the existence of statements contained in a deposition transcript
filed as part of the court record can be judicially noticed, their truth is not
subject to judicial notice”].)


                                       16
      SMGI argues without contradiction by Jenkins that: (1) he forfeited
any challenge to the admissibility of this exhibit because, although the record
reflects he objected to its introduction, the record does not specify any
ground(s) for his objection (see Evid. Code, § 353, subd. (a) [record must show
a timely objection to evidence “and so stated as to make clear the specific
ground of the objection”]); (2) any error in the introduction of the exhibit was
harmless, because there also was oral testimony about Jenkins’ criminal plea;
and (3) Jenkins’ contention the document was not certified is wrong.
      Jenkins’ reply brief does not address those points (indeed, it does not
address this issue at all). We interpret Jenkins’ failure to respond to SMGI’s
arguments as an implicit concession of their merits. (See Rudick v. State Bd.
of Optometry (2019) 41 Cal.App.5th 77, 89-90 [appellants implicitly conceded
point by “failing to respond in their reply brief to the [respondent’s] argument
on this point”].)
      We also reject Jenkins’ arguments for the additional reason that he has
not made any attempt to show that the admission of this evidence was
prejudicial. When challenging an evidentiary ruling, an appellant must do
more than show the trial court erred. “A court’s error in excluding evidence
is grounds for reversal only if the appellant demonstrates a miscarriage of
justice, that is, that a different result would have been probable had the error
not occurred.” (Major v. R.J. Reynolds Tobacco Co. (2017) 14 Cal.App.5th
1179, 1202; see also Zhou v. Unisource Worldwide, Inc. (2007)
157 Cal.App.4th 1471, 1480; Cal. Const., art. VI, § 13; Evid. Code, § 354; Code
Civ. Proc., § 475.) Jenkins has made no attempt to do that.




                                       17
      6.    Conversion Verdict
      Jenkins argues that the conversion verdict “fails both as a matter of
law, and also even under the substantial evidence standard of review as to
the facts” for several reasons.
      First, reprising his argument concerning the jury instructions, he
argues that conversion requires proof of a “specific, identifiable” sum and yet
in this case, there is no substantial evidence to support the jury’s $251,000
conversion verdict which he says “is not in the record, and is made up.” But,
as we have explained, Jenkins has failed to show that the court erred by not
instructing the jury that conversion requires proof of “specific identifiable
sums of money.”
      And because Jenkins has failed to demonstrate any error in the jury
instructions in this respect, he cannot challenge the verdict through the
backdoor by recasting the same point as a sufficiency of the evidence
problem. It is well-settled that an appellate court “review[s] the sufficiency of
the evidence to support a verdict under the law stated in the instructions
given, rather than under some other law on which the jury was not
instructed.” (Bullock v. Philip Morris USA, Inc. (2008) 159 Cal.App.4th 655,
674-675 (Bullock).) “Absent instructional error, . . . for an appellate court to
review a verdict under a rule of law on which the jury was not instructed
would allow reversal of a judgment on a jury verdict, requiring a retrial, even
though neither the jury nor the court committed error.” (Id. at p. 675.)
      The argument also fails on its face: Jenkins’ complaint is that “no one
can even figure out where the number comes from” yet concedes that “the
jury was told to calculate specific sums plus further compensation.” He has
not shown that there is no possible way the jury could have sifted through the



                                       18
evidence and arrived at a figure of $251,268.75. He has not even summarized
(much less analyzed) SMGI’s damages evidence.
      Second, he contends that the conversion verdict is “invalid” or “void”
because in order to treble damages for conversion, “the evidentiary rules of
punitive damages attach” and yet there was no evidence introduced during
phase one of his financial condition, nor was there clear and convincing
evidence of oppression, fraud or malice. We do not address these points. As
explained above, the jury did not award treble damages for conversion. Any
error was harmless.
      Next, he argues there was insufficient evidence of conversion because
“one signature is not conversion,” a contention supported by argument that
$1.1 million of business checks and wires allegedly converted “were paid to
third parties and not taken by [him].” He asserts the money was used to pay
legitimate business expenses, including bills and employee payroll. At a very
high level of generality, the argument has some superficial appeal. But
Jenkins has failed to develop the argument in a way that we can
meaningfully assess it. He has not discussed any of the evidence bearing on
this issue; rather, the entire argument is supported by a citation to a single,
isolated sentence in SMGI’s closing argument.11 Nor has he shown either
that the jury instructions were erroneous in connection with this issue or,
alternatively, that the evidence was insufficient judged by the law stated in
the instructions. (See Bullock, supra, 159 Cal.App.4th at pp. 674-675.) So the
point is wholly disconnected from any specific claim of error. Further, his


      11 He cites counsel’s statement to the jury that “Jenkins wrote checks
over $5,000 on a single signature for more than a total of $977,000. He also
made wire transfers in excess of $5,000, each on his single signature, for over
$137,000.”


                                       19
argument is not supported by a discussion of any pertinent legal authority.
He cites just one case but does not analyze it, and it is of no apparent
relevance. (See Voris v. Lampert (2019) 7 Cal.5th 1141 [holding that
conversion does not lie to recover unpaid wages].)
      We also have trouble following the logic. Even if we assume that some
portion of the funds allegedly converted were put to some legitimate use that
legally cannot constitute conversion, Jenkins has failed to demonstrate that
the jury necessarily found him liable for converting those funds or otherwise
explain why the entire verdict fails for insufficient evidence. As noted, the
jury returned a conversion verdict of $251,268.75, a figure substantially
lower than the $1.1 million in allegedly unauthorized wires and checks.
      For all these reasons, Jenkins has not met his burden to demonstrate
an error.
      Next, Jenkins argues that the jury’s conversion verdict was
unsupported by the evidence because, as we understand his argument, the
$46,022 he concededly paid himself in unused paid time off was not improper.
He maintains that this aspect of the conversion claim was based only on an
employment policy stated in an employee handbook yet “there was no
evidence” the handbook even applied to him. But the very testimony he cites
is from a board member who testified that he believed “it was the policy for
everyone.”
      And even without such testimony we would reject Jenkins’ argument.
He makes no argument, much less cites authority, that it was beyond the
fact-finding province of a jury to reasonably infer that the policy stated in the
employee handbook did apply to him. (See Leung v. Verdugo Hills Hospital
(2012) 55 Cal.4th 291, 308 [in reviewing judgment based on jury verdict, “a
reviewing court must resolve all conflicts in the evidence in favor of the

                                       20
prevailing party and must draw all reasonable inferences in support of the
trial court’s judgment”].)
      7.    Breach of Fiduciary Duty Verdict
      Next, Jenkins challenges the jury’s $350,000 breach of fiduciary duty
verdict on multiple grounds.
      First, he argues that he is protected by the business judgment rule for
the way he ran the company and contends that “the root problem with the
jury’s verdict is that the jury granted SMGI fiduciary duty damages for [his]
alleged poor management (that the Board even approved no less).” But the
legal standard he recites was not reflected in the jury instructions, and
Jenkins has not argued that the court erred by failing to instruct the jury on
the business judgment rule.12 As noted, absent error in the jury instructions,
we judge the sufficiency of the evidence based on the law stated in the
instructions. (See Bullock, supra, 159 Cal.App.4th at pp. 674-675.) Jenkins’
arguments about points of law not addressed in the instructions given are
thus irrelevant in determining the sufficiency of the evidence.
      Next, he argues that his expenditures for overseas travel were
legitimate. This conclusory argument is presented in a vacuum, with no
discussion of the jury’s actual verdict and no discussion of any law. It fails to
demonstrate error.
      Next, he argues he did not breach his duty of loyalty “by using one
signature” on checks “as a matter of law” because the SMGI board never
questioned his check-writing practices and/or ratified his decisions to pay
SMGI bills in this fashion. This conclusory argument is presented in a


      12Such an argument would fail, because the record does not show he
requested an instruction on the business judgment rule.


                                       21
vacuum, with no discussion of the jury’s actual verdict, no discussion of the
evidence of the bills supposedly paid and the testimony about them, and no
discussion of any law. It fails to demonstrate error.
      Next, he argues that “trying to acquire a company is not a breach of
duty of loyalty.” Citing—but not discussing—Jaynes v. Jaynes (1950)
98 Cal.App.2d 447, he asserts that the only information SMGI claims he
should have disclosed was that Gimple, SMGI’s business rival, was his source
of funding in the attempted acquisition of SMGI, but that he did not owe
SMGI a duty to disclose that information. Jaynes does not address the
existence or non-existence of a duty by corporate officers to disclose such
information, nor in any way support that contention.13 Accordingly, Jenkins
has shown no error.
      Next, he argues he did not breach his duty of loyalty by transferring
SMGI business and employees to RSG when he resigned. This contention is
forfeited. It is evident from even a cursory reading of the appellant’s brief
that Jenkins has failed to summarize all the relevant evidence, and to the
extent he discusses the evidence at all it is unfairly one-sided.
      For example (and without being exhaustive), he asserts that the Board
instructed him to cut most of the employees, citing his own testimony to that
effect and that of an SMGI employee who testified Jenkins told him this, and


      13  Jaynes reversed a judgment for instructional error where a non-
managing shareholder was allegedly duped into selling her shares to the
company’s general managers based on false representations about the value
of her shares and false representations that the managers had a controlling
stake in the company. (See Jaynes v. Jaynes, supra, 98 Cal.App.2d at p. 449.)
The appellate court held that the breach of fiduciary duty instruction
erroneously imposed a duty on the selling shareholder to investigate the true
facts for herself. (See id. at pp. 451-453.)


                                       22
thus claims he could not be held liable for merely “informing the [SMGI]
employees of the state of the company.” But nowhere does his appellate brief
discuss conflicting testimony by an SMGI board member denying that
Jenkins was told to fire employees or that the board planned to shut down
the company.
      He does not discuss his own admission at trial that while he was still
employed with SMGI he was simultaneously working with Gimple to make a
business proposal to one of SMGI’s prospective clients (Edison Electric
Institute).
      He does not discuss testimony that at the very first meeting with new
SMGI employees who had been hired by RSG (including Jenkins), RSG
discussed that “the plan was to reach out to the SMGI clients, let them know
what was going on, and RSG was going to start taking over these accounts.”
      He does not discuss the evidence that he directed departing
management employees to engage in wholesale destruction of all SMGI paper
files and to wipe all data from SMGI computers coincident with their mass,
unannounced resignation.
      He does not discuss the content of the email he sent to SMGI clients
soliciting their future business when he resigned from SMGI. The email
went well beyond merely announcing his departure and was similar in tone
and content to communications courts in other cases have held to be unlawful
solicitation.14 (See, e.g., American Credit Indemnity Co. v. Sacks (1989)



      14 The email touted his own personal accomplishment as CEO for
“bringing this company back from the brink of extinction to the flourishing
company it is today,” announced his resignation and that of his executive
team due to “the differences in the long-term vision and commitment for
continued growth with the company’s Board of Directors” and concluded by

                                      23
213 Cal.App.3d 622, 626, 636-637 [holding that similar letter went beyond
merely announcing new employment and constituted unlawful solicitation of
employer’s customers]; Blue Mountain Enterprises, LLC. v. Owen (2022)
74 Cal.App.5th 537, 544, 554-556.) Yet he makes no attempt to analyze its
contents to show that it was lawful. Further, even some of the evidence that
Jenkins does cite in his own defense (but does not actually discuss) supports
a reasonable inference that RSG actively solicited SMGI clients.15
      In light of Jenkins’ incomplete, one-sided discussion of the evidence, we
will not consider his challenge to the sufficiency of the evidence supporting
the jury’s finding he breached his fiduciary duty. “A party who challenges
the sufficiency of the evidence to support a finding must set forth, discuss,
and analyze all the evidence on that point, both favorable and unfavorable.”
(Doe v. Roman Catholic Archbishop of Cashel &amp; Emly (2009) 177 Cal.App.4th
209, 218.) When the appellant fails to do that, we deem the sufficiency of the
evidence issue waived. (Id. at p. 218; Foreman &amp; Clark Corp., supra,
3 Cal.3d at p. 881.) An appellant who discusses “ ‘merely their own
evidence’ ” falls short of tendering an issue for the appellate court’s
consideration. (Foreman &amp; Clark. Corp., at p. 881, italics omitted.) In short,

stating “I truly look forward to our paths crossing again in the not too distant
future and being of service to you once again.”
      15  Specifically, he cites email correspondence with an SMGI customer
“recommend[ing]” that they “stay with SMGI for thirty days” before making a
decision about whether to transfer their business while RSG in the meantime
promised to “be looking to find you the best possible officers in case at the end
of those days you want the current officer replaced or they come to Resolute
with the account,” in order to “separate[] you from the whole mess, provid[e]
you with an industry-standard transition and cannot be questioned.” The
jury could reasonably infer from the face of that communication that the
effort to lure customers away from SMGI was structured to reach fruition
under cover of a 30-day waiting period designed to minimize legal exposure.


                                        24
Jenkins has waived his claim that the evidence was insufficient to support
the jury verdict finding that he breached his fiduciary duty to SMGI.
        8.   Interference with Prospective Economic Advantage Verdict
        Jenkins argues that the $150,000 jury verdict for interference with
prospective economic advantage must be reversed because the claim was not
pled.
        He forfeited this issue because he allowed the cause of action to go to
verdict without objection. He did not object to the jury instruction on this
cause of action, nor to the inclusion of this claim on the verdict form.
“ ‘ “Where the parties try the case on the assumption that . . . [an] issue . . .
[is] raised by the pleadings, . . . neither party can change this theory for the
purpose of review on appeal.” ’ ” (Ghirardo v. Antonioli (1996) 14 Cal.4th 39,
48-49; accord, Hilliard v. A.H. Robins Co. (1983) 148 Cal.App.3d 374, 392; see
also, e.g., Mardirossian &amp; Associates, Inc. v. Ersoff (2007) 153 Cal.App.4th
257, 277 [failure to object at trial to error in special verdict form waives issue
on appeal]; Olson v. La Jolla Neurological Associates (2022) 85 Cal.App.5th
723, 737 [contention that liability theory is beyond the scope of the pleadings
held forfeited by failing to object].)
        In his reply brief, Jenkins tacitly concedes he forfeited this issue,
urging us not to “bless[]” this claimed error “by waiver.” We decline the
invitation. Had the issue been called to the trial court’s attention, SMGI
might have sought to amend the pleadings to conform to proof, and we will
not unfairly deprive it of the right to request and likely obtain such relief by
addressing this claimed pleading defect for the first time on appeal.
        9.   Interference with Contract Verdict
        Citing authority that agents cannot be liable for interfering with
contracts entered into by their principal (see Shoemaker v. Myers (1990)


                                         25
52 Cal.3d 1, 24; Mintz v. Blue Cross of California (2009) 172 Cal.App.4th
1594, 1603-1604; PM Group, Inc. v. Stewart (2007) 154 Cal.App.4th 55, 65),
Jenkins argues he cannot be liable for interfering with SMGI’s contracts
because while he was employed there he was functionally a party to those
contracts (having procured them for SMGI in his capacity as CEO). This
argument is forfeited because it contains no discussion of the evidence or
citation to any portion of the record. It also is unpersuasive: Jenkins fails to
discuss any of his conduct after he resigned from SMGI, when he was no
longer acting as an agent for SMGI, much less explain why that conduct
would not be sufficient to support the claim.
      Jenkins also argues that the evidence is insufficient as a matter of law
to support the jury’s verdict that he intentionally interfered with SMGI’s
clients, because it is undisputed that SMGI itself terminated those contracts.
      We reject this argument. The jury found that SMGI had existing
contracts with five entities (the California Lottery, the Port of Seattle, the
East Bay Municipal Utility District, the East Bay Asian Local Development
Corporation, and Jones Lang LaSalle, Inc.) and that Jenkins intentionally
interfered with “one or more” of them, for which it awarded $150,000 in
damages. Accordingly, to overturn the jury’s verdict Jenkins must show
there is no substantial evidence he interfered with any of them.16
      But Jenkins has failed to discuss all the relevant evidence concerning
at least one of the clients, the East Bay Municipal Utility District (EBMUD),
resulting in a one-sided recitation of the facts that works a forfeiture.
Jenkins asserts that EBMUD contacted SMGI to discuss the contract and

      16 We note that SMGI concedes that its contract with the Port of
Seattle was “extremely unfavorable,” it was “suffering huge losses” under the
contract and it “chose to terminate” the contract.


                                       26
SMGI told the client it could no longer service the contract, thereby ending
the relationship. He asserts that “Jenkins had nothing to do with SMGI’s
loss” of this relationship. But Jenkins does not mention testimony by SMGI
co-founder and board member Robert Shiells, cited by SMGI in its statement
of facts, that this entire episode was precipitated by Jenkins’ solicitation
letter:
      “Q:   [W]as SMGI able to keep that work after Mr. Jenkins left?
      A:    No.
      Q:    What happened with that contract?
      A.    They contacted us and said that we were not going to be their—no
longer be their provider. Principally with the poison-pill letter from Mr.
Jenkins, it did not appear that we could continue services.”17 (Italics added.)
Jenkins’ incomplete discussion of the evidence forfeits his contention the
evidence is insufficient to prove he interfered with the EBMUD contract.
(See Foreman &amp; Clark Corp., supra, 3 Cal.3d at p. 881.) Further, a jury could
reasonably infer that but for Jenkins’ letter, EBMUD would not have reached
out to SMGI to question SMGI’s ability to continue providing it with services.
Accordingly, he has not demonstrated that the jury’s finding he interfered
with “one or more” existing client is unsupported by substantial evidence.
      10. Intentional Interference with Prospective Economic
          Advantage Verdict
      The jury found that SMGI had no existing contract with Levi’s but that
there was an economic relationship that probably would have resulted in an
economic benefit to SMGI that Jenkins disrupted. SMGI board member


      17  Jenkins does cite to this testimony elsewhere in his brief (on the
issue of causation) and says it is not substantial evidence. No legal authority
is cited for that proposition, and we therefore disregard it.


                                       27
Shiells testified Levi’s was an “event-driven customer” for whom SMGI would
work from time to time but that there was nothing ongoing. Jenkins asserts
that there is no substantial evidence to support tort liability for the loss of
this relationship solely because “[w]hen asked why . . . Levi’s did not call
SMGI in 2016, Shiells responded by saying ‘I don’t know why.’ ” That
conclusory argument, unsupported by any legal authority or analysis, does
not meet Jenkins’ burden to show error.
         It also fails to accurately summarize Shiells’ testimony. Shiells
testified, “I don’t know why. Well, I assume it was because of the letter they
received that we no longer had a CEO or any management on the staff.”
(Italics added.) Jenkins makes no argument that the jury could not
reasonably infer the same thing. Thus, he has failed to show the verdict is
unsupported by substantial evidence.
         Moreover, as noted, the first day of Shiells’ testimony is unreported.
When no reporter’s transcript is provided, “it is presumed that the
unreported trial testimony would demonstrate the absence of error.” (In re
Estate of Fain (1999) 75 Cal.App.4th 973, 992; accord, Trinity v. Life Ins. Co.
of North America (2022) 78 Cal.App.5th 1111, 1125, fn. 4 [“[i]n the absence of
any record of [witness’s] testimony at the evidentiary hearing, we must
presume that testimony supports the court’s findings”]; see also Foreman &amp;
Clark Corp., supra, 3 Cal.3d at p. 881 [appellate court must presume “ ‘the
record contains evidence to sustain every finding of fact’ ”].) So we must
conclusively presume that his testimony would support a finding in SMGI’s
favor.
         11. Causation and Harm
         Jenkins asserts that SMGI failed to prove that his actions caused
damage to SMGI. We reject this argument because it cites legal authority

                                         28
without explaining how it applies, relies on conclusory factual statements
unsupported by citations to the record, and is presented in a vacuum with no
analysis of the jury’s verdict. For example, as just discussed, a jury could
reasonably conclude Jenkins caused the disruption of actual or prospective
relationships with both Levi’s and EBMUD. Jenkins’ argument is
insufficient to demonstrate error.
      12. Remaining Issues
      Jenkins argues that his mere “act of quitting was wrongly used as a
basis for interference” of liability, citing (but not discussing) portions of
testimony by SMGI’s damages expert to which no objection was interposed,
portions of SMGI’s closing argument to which no objection was interposed,
and the jury instructions on intentional interference with prospective
economic relations which imposed liability for communications with clients,
not the act of quitting.18 Jenkins asserts that the tort verdict violates “the
most basic [canons] of freedom of mobility for employees,” because “Jenkins
was an at-will employee and had every right to leave SMGI at any time.”
      That is exactly what the jury was told. It was instructed that Jenkins
had the legal right to quit his employment “at any time, with or without
cause” and SMGI had “no authority to compel [any] employee to remain as
employed.” So the premise of Jenkins’ argument is flawed. The verdict did


      18  In relevant part, they required proof “that in connection with leaving
his job at SMGI for his new job at RSP, Mr. Jenkins communicated with
SMGI’s customers or prospective new customers in a manner that he
intended to persuade those customers to transfer their business from SMGI
to RSG or in a manner that he knew or should have known would cause or
was likely to cause those customers to terminate their existing business
relationships with SMGI, even if they decided not to transfer their business
to RSG.”


                                        29
not rest on legal principles that sanction “forced servitude” or “some sort of
unenforceable noncompete in violation of California law.”
      Jenkins raises no independent claim of error concerning the denial of
his motion for new trial apart from the damages issues already discussed,
and so we conclude there was no error in the new trial ruling.
      Finally, scattered throughout Jenkins’ briefing are bids for leniency
toward him given the fact that he represented himself below. He cites no
authority excusing pro per litigants from the necessity of preserving issues
for appellate review or interposing objections at trial.19 On the contrary, his
own cited authority acknowledges that “pro per litigants are not entitled to
special exemptions from the California Rules of Court or Code of Civil
Procedure” but “are . . . entitled to treatment equal to that of a represented
party.” (Gamet v. Blanchard, supra, at p. 1284.) We agree. (See Rappleyea
v. Campbell (1994) 8 Cal.4th 975, 984-985.) “A doctrine generally requiring
or permitting exceptional treatment of parties who represent themselves
would lead to a quagmire in the trial courts, and would be unfair to the other
parties to litigation.” (Id. at p. 985.)
                                  DISPOSITION
      The judgment and the order denying the motion for new trial are
affirmed. Respondent shall recover its costs.


      19 In support of his bid for leniency, he cites (but does not discuss)
authority of no apparent relevance. (See Frazee v. Seely (2002)
95 Cal.App.4th 627, 631, 633-635 [abuse of discretion to deny request by
party who was represented by counsel for continuance to oppose summary
judgment motion]; Gamet v. Blanchard (2001) 91 Cal.App.4th 1276, 1284-
1285 [abuse of discretion to deny pro per plaintiff’s motion to vacate
judgment where trial court gave her “confusing, indeed misleading” orders
and communications].)


                                           30
                                         STEWART, P.J.



We concur.




RICHMAN, J.




DESAUTELS, J.




Security Mgmt. Group, Inc. v. Jenkins (A164147, A164970)




                                    31
